Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.583 Page 1of17

    
  
 
 
 

 
   
   
 
 

   
  

 
 

 

 

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ot Whe. oueue wm G@itlyarim: COHY HN: oF 600,079. Cell: 999598478,

AFFIDAVIT OF DECLARATION

i Mrs SAMA VIJAYALAXMI M/o Sama Santosh Reddy aged about 56 years, occupation:
prouse wife, Resident of Home No:17-1-382/P/98, Press Colony, Opp S N Reddy Gardens,
Saidabad, Hyderabad 500060, State of Telangana, India, do hereby solemnly affirm and
piste on oath as follows:

1) That | am the deponent herein and as such | am well acquainted with the facts of

fl this affidavit.
2) | submit that | am MOTHER of Santosh Sama and | convey that | convey that | am
& suffering with health issues related to spine and uterus. Spine surgery with surgical

method SPINE FIXATION RODS AND PLATES, ARTIFICIAL DISCS (S10.5.4)

: performed on 21 May 2011 at Yashoda Hospital, Malakpet, Hyderabad.

_/ 3) | submit that my son is married recently to Mounika Sama is also suffering from

», bitter experiences regarding health and Depressed for his present situation. .

) | submit that my son is only bread winner and source of my family as | am a
homemaker who is completely dependent on him for my survival and medication.

© 5) | submit that my son never involved in any crime in India as of date.

6) Therefore | request the Honourable concerned authorities to show leniency and

release him. Please accept this above declaration which is true and correct to the

2 best of my knowledge and belief and nothing has been therein.

 

Hence this affidavit.
Bac ; ATTESTED —
sworn and signed before me

nthisthe dayof 2019 PASUPULET! VEDANTHAM

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5 QO” OX

At Hyderabad. Advocate & Notary Reg No. 8815 DEPONENT.
Appointed oy Govt. of India RI 955462746
pur! Colony, Karmanghac

  

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.584 Page 2of17

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.585 Page 3of17

From: Vijayalaxmi Sama,
Government press colony,
Hyderabad, India.

June 29, 2019.

To: Honourable Judge Gershwin A. Drain
United States District Court

231 Lafayette Blvd

Detroit, Ml 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

Your honour | am Sama Vijayalaxmi mother of Santosh Sama of age 58 years Resident of
Home No: 17-1-382/P/98 government press colony, Champapet, Saidabad, Hyderabad
500059. Bearing a passport number N1777522 addressing you to explain my pain and
struggles for my son.

| am wife of late S. Janardhan Reddy who provided his services to the police department of
state in India till his last breath.

| have 3 elder daughters and 1 younger son , Santosh is the youngest of all , unfortunately

we lost his father at the early ages of children from then , ama women with four kids,
brought them up , providing education to them and getting them married by working in a
small factory after, then | felt severe pain in lower backbone which led to diagnosis of L4
L5 grade II SPONDYLOLYSTHESIS later treated with the surgical method of spinal fixation
rods and plates with artificial discs (s10.5.4) performed at Yashoda hospital with patient ID
13503410 on 21/05/2011 with inpatient no 79282 from then | am a patient instructed not to
lifts weights and walk more. | was continuously under the medical supervision and
physiotherapy.

My only son is our family hope for me and my daughter in law is too young to bear this and
sustain with bitter experiences we undergoing with health as they are very recently married
haven’t been with each other for long time due to destiny.

Initially we used to earn our living by the pension provided by government as a small help
from state government which was too less, made my son help me with his small hands at
the young age made today a responsible son. As a mother | can strongly appreciate my son,
he is a matured child of all ,took responsibilities of his father, worked for part time after
returning home from his college hours in the evening along with me to meet family needs,
food, shelter to take care of his sisters.

Through he was younger he was the man of our house to take of all our responsibilities. But

the current situation he is undergoing | is pur unintentional and unfortunate. Ait Pp
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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.586 Page 4of17

He is the best child with a good helping nature as he did all weddings of his sisters in the
place of his dad and kindness as he is too kind to others, now which is making him to suffer
by being kind to his friends.

He is always front on his foot to participate in social welfare activities form his childhood
which are frequently organised by our living society association in our community. And he is
an active participant to good events which causes peace and pleasant to others.

It is truly very hard to sustain this pain and life without my son for both myself and my
daughter in law who is madly in love with him.

Enclosing my health reports and identity proofs in the following supporting documents, |
sincerely request you concerned authorities to accept my request and save my son from this
hard situation by lessening the time period as he had already experienced all the odds for
the unknowing and unintentional mistake and release him soon.

Thank you,

Yours Faithfully,

 

rE: 6, ASO

SIGNATUR

NAME: Vijayalaxmi Sama.

CONTACT NUMBER: 8125576276.

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.587 Page5of17

N1777522

     

SAMA
VIJAYA LAXMI

F

HYDERABAD

  

40/08/2015 09/08/2025

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.588 Page 6 of 17

EMIGRATION CHECK REQUIRED

LACHIREDDY JITTA
LAXMAMMA JITTA

JANARDHAN REDDY SAMA

 

 

N00

N77 7522

17-1-382/P/98,0PP S N REDDY GARDEN,PRESS COLONY

SAIDABAD,HYDERABAD

PIN: 500059,TELANGANA,INDIA

HY1068711484515

 

 

   

 
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Discharge Summary (a%\§ D3) |

 

    

 

Network Hospital ( Address and Telephone Number )
AH SH, wd 8 (Qtoarar so6aho Gd3'S mo.)

Name Sto : Yashoda Hospital (Malakpet) TelephoneNo 8&5 So. : 0402555555
Address Otay : MALAKPET HYDERABAD

Name and Telephone Number of Aarogyamithra at Network Hospital

M5 56), WG aS Qoes Doo soGato BOIS Bo

 

 

 

 

 

 

 

Name  : AMRIN SUMIAYA Phone Number &8£FS o. : 9490165094
. : Date of Admission
Name and Residential Address of the Patient Age Sex
Suo6 Deo sdokw gods Deoxraip Sabie [e/a jee es
‘ 44 Female __|Date of Surgery/Therapy
PatientId Sno md : 13503410 #QDSd OSS, dO
Name 2 : sama vijaya laxmi 24/05/2044 foo
Addressatamsae : $-4-12/1 champapet . Date of Discharge
, ar.6 900s 4
31/68/2011
Claim Number ganSo ac : ARGI/RRY/201 1/P2R3/15141995 IP Number

Med Wo : 79282

 

 

Health Card / White Ration Card /TAP Card No asre5 6 / ay das s°6 Mo : WAP1585310B0222/01

°

 

Name and TelePhone Number of PHC Aarogyamithra }2rS 5 eB Dogs Doo sido» GOS do

Name S«: TelePhone Number &82P5 2c. :

 

 

Surgeon Name 8 Sw : RAVI SUMAN REDDY fs

 

Final Diagnosis O36 Gourynam : L4-L5 GRADE I-ll SPONDYLO LYSTHESIS

    

 

\
Surgical Procedure / Therapy / Conservative Management ore 5 a
ORES Oorso / Bd / 8948S 3a, 06 : Spinal Fixation Rods And Plates, Artificial Discs (S10.5.4 ), ~ PTENOTARIAL

 

Status at the time of Discharge Gary wads AAvairAs QoS : AT THE TIME OF DISCHARGE HER
GENERAL IS STABLE

 

 

Sol Move,

, R12SS 46296
itps:l/www aarogyasri.org/ASRI/FrontServlet?request Type=DischargeSummary Request. 5/31/2011

 
ID.590 Page 8 of 17
-4 filed 09/05/19 Page |
L -EAS ECF No. 109-4 b
SE 2:19-cr-20026-GAD-E

Rajiv Aarogyasri Health Insurance Scheme: Pa,

  

 

 

 

 

 

 

 

Patient Name mo dey : sama vijaya laxmi Signature / Nodigo :
aS.

Surgeon Name Aa Ded : RAVI SUMAN REDDY Signature / soeigo :

Ramco Name :DR SRIDHAR Signature / sodigo 3

 

 

  

 

 

 

Operative Findings BOTBS Dodtofiy :

NIL

Clinical History dye 2PQ6 :
LOW BACKACHE SINCE 4 YEARS

On Examination Hb Keres +
BP 120/80, PULSE RATE 74/MIN

Investigations RACNTASD : .
MRI MAJOR SURGICAL PROFILE MRI

sae

Treatment Given ways §5 a0§ ; ~

ONS UXATION WITH RODS AND SCREWS wiTH L4-L5 PLIF WAS DONE UNDER GA
ON 21.05.2014

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Advise sexs : \

 

https://www.aarogyasti.org/ASRI/F rontS erylet?requestType=Discharges ummaryRequest... 5/31/2011

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Case 2:18%6P!2 062 C0GIRDrAROSS chante No. 109-4 filed 09/05/19 PagelD.591 PHRAg3 Vr’

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TAB TAXIM - O 200MG TWICE DAILY FOR 5 DAYS, TAB RANTAC - 150 MG TWICE DAILY
FOR 7 DAYS, TAB VOVERAN SR 100 MG TWICE DAILY FOR 7 DAYS, TAB PREGALIN 75
MG ONCE DAILY FOR 10 DAYS, TAB ENAM 2.5MG ONCE DAILY AT 8AM FOR HTN, TAB
DIAMICRON-MR ONCE DAILY FOR DM, CAP BECOSULES 1 CAP ONCE DAILY FOR 10

DAYS, AVOID LIFTING WEIGHTS , BENDING, STOOPING AND LOW CHAIRS, REVIEW
AFTER 1 WEEK FOR STAPLE REMOVAL

Review 65% : ~
REVIEW AFTER 1 WEEK FOR STAPLES REMOVAL

Next FollowUp Date eeoxo BOOS wardys JO:

 

07/06/2011
Consult at Block Name :

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Room No:

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Advocate & Notary ry Re

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.592 Page 10of17

 

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Advocate & Notary Reg. No. 8815
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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.593 Page 11 of17

 
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YASHODA
HOSPITAL

 

Patient Name ~ VIWAYA LAXMI SAMA Sex / Age - FI045Y
YH No. : 239092 - Diag. No. : 2665046
Ref. Phys. - DR.RAVISUMAN REDDY Modality ; sc
Order Date/Time : 09-05-2011/12:30:16 IP Number : 0
Report Date/Time : Reg. Type 7 O

 

 

 

DEPARTMENT OF RADIOLOGY
M RIOF LUMBAR SPINE ( SCREENING )
TECHNIQUE : |
@ T2 Sagittals & Axials
FINDINGS :
Lumbosacral transitional vertebra noted.
Grade I retrolisthesis of L5 vertebra over S1 vertebra.
Disc dessicatory changes at L2-L3 to L5-S1 level.
Schmorl's node seen a superior end plate.of L3{L4 vertebra.
Marginal osteophytes seen at various levels.
Reduction in disc height at L4-L5 level.
Rest of the vertebral bodies show normal heights, marrow signal intensity.

Posterior elements are unremarkable.

Loss of posterior concavity of L3-L4 disc causing anterior thecal sac
@ indentation with bilateral mild / moderate degree neural foraminal compromise.

Diffuse disc bulgs at L4-L5 level causing anterior thecal sac indentation with
bilateral moderate degree neural foraminal compromise.

Diffuse disc bulge at L5-S1 level causing anterior thecal sac indentation
with bilateral severe degree neural foraminal compromise.

Spinal canal compromise at L3-L4, L4-L5 & L5-S1 levels.
Facet joints are normal.
Conus & cauda show normal signal characteristics to the visualized extent.

Pre & paravertebral soft tissues are normal.

§ OHOSOL,
Nalgonda ‘xX Roads, Malakpet, Hyderabad - 500036. A.P. Ph: 040-2455 5555 Fax : 040 - 2454 5690
e-mail : malakpet@yashodahospitals.com website : se OOO RTAL SD.

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CASE gp 120028 CAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.595 Page 13 of 17

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YASHODA
HOSPITAL

 

Patient Name : VIJAYA LAXMI SAMA Sex / Age : F/045Y -
YH No. : 239092 Diag. No. : 2665046

Ref. Phys. : DR.RAVISUMAN REDDY Modality : $C

Order Date/Time : 09-05-2011/12:30:16 IP Number : 0

Report Date/Time : Reg. Type : O

 

 

 

Spinal canal diameters :

MID BODY DISC LEVELS

13.9mm (L1) -- 13.6mm (L1-2)

12.3mm (L2) -- 9.0mm (L2-3) |
@ 9.7mm (L3) -- 8.0mm (L3-4) ? :

10.0mm (L4) -- 8.7mm (L4-5)

7.4mm (L5) -- 6.0mm (L$-S1)

For clinical correlation.

x

NOTE : Lumbosacral junctional vertebra may be transitional in significant
number of cases. Therefore, vertebral levels must be correlated
with plain radiographs / fluoroscopy prior to any intervention.

Dr.H Suvarna. DNB
ConsultantRadiologist

 

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Nalgonda ‘X' Roads, Malakpet, Hyderabad - 500 036. A.P. Ph: 040 - 2455 5555 Fax : 040 - 2454 5690
e-mail : malakpet@yashodahospitals.com website > www. yashodahospitals.com

R19 55-1216

 
 

[Patient Name : VIJAYA LAXMI SAMA Sex/Age_: F/045Y_-
YH No. : 239092 Diag.No. . : 2681079
Ref. Phys. : DR.RAVISUMAN REDDY Modality > DX
Order Date/Time: 18-05-2011/04:40:08 IPNumber : 0
Report Date/Time > 18-05-2011 18:04:01 Reg. Type 7 O

 

 

 

DEPARTMENT OF RADIOLOGY

X-RAY LUMBO SACRAL SPINE LATERAL VIEW

Spinal curvature well maintained. °

Anterior displacement of L4 over L§ with discontinuity in pars articularis.
Vertebral bodies show normal height, alismaeit and density.

Reduction of L4-L5 IV disc space.

Posterior elements appear normal.

Soft tissue shadow appear normal.

IMPRESSION: Spondylolytic listhesis L4 over L5.

Dr.S aoe

 

For clinical correlation.

 

Consultant Radiologist
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Nalgonda 'X' Roads, Malakpet, Hyderabad - 500 036. A.P. Ph: 040 - 2455 5555 Fax - 040 - 2454 5690
e-mail : malakpet@yashodahospitals.com website : www.yashodahospitals com

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.597 Page 15 of 17

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YASHODA
HOSPITALS

 

 

Patient Name “VIJAYA LAXMI SAMA _ Sex/Age :F/049Y
YH No. > 239092 / Malakpet Diag. No. :2529225
Ref. Phys. ‘DR.RAVI SUMAN REDDY Modality :DX
Order Date/Time =: 21-12-2015/14:38:22 IP Number :0

Report Date/Time :21-12-2015 15:45:04 Reg. Type :O / /

 

DEPARTMENT OF RADIOLOGY

 

X - RAY LUMBO SACRAL SPINE LATERAL VIEW

Internal fixing hardware in situ in L4, LS vertebral bodies.

for neuroperusal.

(

Dr.D.K.Borad
Cons.Radiologist

Note : This is professional opinion only. Each investigation has its limitations. Final diagnosis needs
correlation with clinical context and other investigations. Kindly discuss if necessary.
rad

< AMOK,
K/QASHLH

 

Yashoda Healthcare Services Private Limited

Registered Office: 16-10-29, Nalgonda ‘X' Roads, Malakpet, Hyderabad-500 036. Telangana State.
Corporate Identity Number (CIN): U45200AP1993PTCO16175

Unit: Nalgonda 'X’ Roads, Malakpet, Hyderabad-500 082. Telangana State.
Phone: 040-2455 5555 Fax: 040-2455 6257
NABH

email: malakpet@yashoda.in | www.yashodahospitals.com

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-4 filed 09/05/19 PagelD.598 Page 16 of 17

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YASHODA
HOSPITALS

Token No:17 Slot: 12:40

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Aamo VIJAYA ! awear magna Ane

Dr. VENUGOPAL G

MBBS, M.Ch, (Neuro Surgery)
Consultant Neuro Surgeon

Kez No.4aui5

Mobile: 7989218706
Email:drgvenu@gmail.com

Remarks ; SELF

 

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YH No : 239092 Date : 30/6/2018 12:34 Ref By ,

Consultation Fee: Rs. 550 Rec.No: DFV101754/18 City: ¢ have fr ee
Complaints with Duration :

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PASUPULETI VEDANTHAM
Advocate & Notary Reg No. 8815

 

nfo nt:

vi vestigation Rx:

Nutrional Assessment ( DM/HTN/Other ) :

Lt Appointed py Govt. of India FO4118
FS {BLN t-4-119, Pavanpuri Colony, Karmang ah
3 SES \ i Saroor Naaar (M) _P Dist <7!
\7.\ oy : / } For Appointments Please Contact Our 24/7 He pine Nu Number 8121066677, 040-4567 4567
os, & 4G Valid for 2 more visits on or Before Date : 10/07/2018 a
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YASHODA HEALTHCARE SERVICES PVT LTD, MALAKPET - K 7]
Registered Office: 16-10-29, Nalgonda ' Roads, Malakpet 6 ver Cn
Hyderabad, Telangana » 500 036 , -_
Corporate Identity Number (CIN): U452007TG 1993PTCO16175 % FOR EMERGENCY/QUERIES FOR APPOINTMENTS @
email: malakpel(@yashoda.in | www.yashodahospitals.com 040 6723 2322 (24 HAS) 040 4567 4567 (24 HRS)

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se 1 eo OZb GAD EAS ECF No. 109-4 filed 09/05/19 PagelD.599 Page 17 of 17
‘rovisional Diagnosis / Diagnosis

 

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Review :

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Dr.Signature . .

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